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Main Document Page1of13

MARCEREAU & NAZIF

Robert H. Marcereau (SBN 211534)
Sy Nazif (SBN 228949)

26000 Towne Centre Drive, Suite 230
Foothill Ranch, CA 92610

Tel: (949) 531-6500

Fax: (949) 531-6501

ATTORNEYS FOR CREDITORS and PLAINTIFFS
Kelli Peters, Bill Peters and Sydnie Peters

UNITED STATED BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA — SANTA ANA DIVISION

In re: Case No. 8:16-bk-10223-ES
Adversary Case No.: 8:16-ap-01114-ES
Kent W. Easter, dba Kent Easter

Consulting, dba Law Offices of Kent W. PLAINTIFF’S REQUEST FOR JUDICIAL
Easter NOTICE IN SUPPORT OF MOTION FOR
SUMMARY JUDGMENT

[Notice of Motion and Motion;
Memorandum of Points and Authorities;

. : : Declarations of Robert H. Marcereau;
Kelli Peters, Bill Peters and Sydnie Peters, Request for Judicial Notice filed

Plaintiffs, concurrently]
VS. Date: November 10, 2016
Kent W. Easter, dba Kent Easter Department ae au
Consulting, dba Law Offices of Kent W.
Easter,
Defendants.

TO THE HONORABLE ERITHE A. SMITH, UNITED STATES
BANKRUPTCY JUDGE, THE DEFENDANT, AND OTHER PARTIES-IN-
INTEREST:

Pursuant to Rule 201 of the Federal Rules of Evidence, Plaintiffs Kelli Peters, Bill Peters
and Sydnie Peters hereby request that the Court take judicial notice of the contents of the following

documenis, the originals of which are contained in the files of the Superior Court of the State of

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PLAINTIFF’S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

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Main Document Page 2 of 13

California, for the County of Orange, Case Number 30-2012-00588580-CU-POI-CJC, and true and

correct copies of which are attached hereto:

Exhibit No,

Title of Document

1.

Verdict Form, filed on February 5, 2016.

2.

Judgment on Jury Verdict, filed on February 29, 2016.

Dated: October 4, 2016 MARCEREAU & NAZIF

/s/ Robert H. Marcereau
Robert H. Marcereau
Attorneys for Plaintiffs

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PLAINTIFF’S REQUEST FOR JUDICIAL NOTICE IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

Case 8:16-ap-01114-ES Doc1i7_ Filed 10/04/16 Entered 10/04/16 17:18:39 Desc
Main Document Page 3of 13

Exhibit 1
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Case 8:16-ap-01114-ES Doc1i7_ Filed 10/04/16 Entered 10/04/16 17:18:39
Main Document Page 4of13

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MARCEREAU & NAZIF
Robert H. Marerean (State Ber No. 211534) FILED
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Attorneys for Plaintifis » a
he
SUPERIOR COURT OF THE STATE OF CALIFORNIA.
FOR THE COUNTY OF ORANGE
IkHLLI PETERS, et. al. CASE NO, 30-2012-00588580-CU-PO-CIC
vm. .
Trial Date: February 1, 2016
KENT W. EASTER ET. AL; and DOES ito} Dept: Ci2
100, inclusive,
Defendants,

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VERDICT FORM

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Case 8:16-ap-01114-ES Doc17 Filed 10/04/16 Entered 10/04/16 17:18:39
Main Document Page5of13

We the Jury answer the questions submitted to us 28 follows:

1, What are Kelli Peters’ damages for False Imprisonment?

s 365,060
2. What are Kelli Peters’ damages for Intentionel Infliction of Emotional Distress?

g BP 0, 62%

3, ‘What ave Bill Peters’ damages for Intentional infliction of Emotional Distress?

5 205, ded

4. What are Sydnie Peters’ damages for Intentional infliction of Emotional Distress?

5 609, $99

5. Did Kent W. Easter engage in the conduct with malice, oppression, or fraud?

i ¥ —™

{if your answer to question 5 is yea, then answer question 6, If you answered
no, move on to question 7.)

6. What atsount of punitive damages, if any, do you award Plaintiffs jointly agzinst Kent W.
Bester’?

g 7 F author

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VERDICT FORM

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Case 8:16-ap-01114-ES Doc1i7_ Filed 10/04/16 Entered 10/04/16 17:18:39 Desc

Main Document Page 6 of 13

7. Did Jill B. Easter (aka Ava Easter, aka Ava Bjork, aka Ave Everheart) engage in the
lconduct with malice, oppression, or fraud?
, _ Yea No
[if your answer to question 7 is yes, then answer question 8. If you answered
no, stop here, answer no fixther questions, and have the presiding juror sign and date
this form.}

8. What amount of punitive damages, if my, do you award Plaintiffs jointly against Jill B.
aster (ake Ava Easter, aka Ava Bjork, aka Ava Everhoart)?

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[sted 2-55-16

\Atter all verdict forms have been signed, notify the [eleridbailiff/eourt attendant] that
you are ready to present your verdict fu the courtroom.

Case 8:16-ap-01114-ES Doc17 Filed 10/04/16 Entered 10/04/16 17:18:39 Desc
Main Document Page 7 of 13

Exhibit 2
Case 8:16-ap-01114-ES Doc1i7_ Filed 10/04/16 Entered 10/04/16 17:18:39 Desc
Main Document Page 8 of 13

SUPERIOR COURT OF THE STATS OF CALIFORNIA
FOR THE COUNTY OF GRANGE

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CASE NO. 30-2612-00588580-CU-PO-CIC
Piaintif, Assigned to: Jnvige Michacl Brenner

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AREETPRTECEED JUDGMENT ON
joer. sar JURY VERBICT

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Detc Acton Fisk:  August?2, 2012
‘Teal Date: February 2, 2016

‘This action came on roguinrly fbx tdel on February 2, 2016 in Department C-62 of the
Orange County Soperfar Court, xe Hon, Michael Broaner, Judge presiding; the celtsiants Kent VW,
Raster and Hit B. Easter, ale Ava Evechentt, ala Ava Bjork, aka Ava Easier, appearing in pro per
land pisintis Kell Peters, Hil Peters, and Sydado Petes (earned as “JANE DOK") (collectively
Plaintiff”) appearing by oteneyn Robert H, Mercerest & Sy Nezif, The flowing fantt were
40 in Oils case:

BMRRRRREBRR BES SG

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JUDGMENT ON FURY VERDICT —

Case 8:16-ap-01114-ES Doc1i7_ Filed 10/04/16 Entered 10/04/16 17:18:39 Desc
Main Document Page9Qof13

1, On Febromy 16, 2011, Dotentsnts Kent Baxter ani Nill Haster (A) planted Meged drags aud
drug parepherialia in Plaintiff Kelli Peters’ car, incnding begs of Viendin, Percocet and
Marijuens and a wed Marifcana pipe: end (B) made # inlse report to Irvine Police that they
witneaned Kelli Potees driving ecxutically and kiding eirags in her oar; which (C) resulted in
the detention extd investigation of Plaintiff Kell! Peters by police.

2. Theestions of Kent and Jill Raster caused emotional distress to Plaintiffs Kelli Peters, her
husband Bill Peters, ead their daughter, lane Dos.

$, Cn Qotober 30, 2013, Defendant Jill B, Raster pleaded guilty to Selomy fideo ineprinonment of
Platatitf’ Kelli Peters prorsumat to Poss Code 236/237 in Oomge County Superior Court,

10 Caso No. 12ZF0153,

11 || 4. On September 10, 2014, Deieecient Kent W, Bester was ounvioted of felony filse

12 Angela of Pain Kel eters Purmnn fo Peel Guin nein Qowee Com

13 Superiee Conrt, Caso No. L2ZK0153.

14 || 5. Defhexdands Kant Rater and Hl Easter are snlsly seaponsible for the wrongful acts agalnat

15 Plaintiffs, and no other pereans assisted then: or participated in these acta,

6. Bencd ote shove, Defendants Kent W. Bester end it B. Res, jbsty anise,
atiywiated to Hability in this lawauit an fisllowa:

_q@ Detnsiaats stipclato to lishility the the Yirst Cause of Action fn the Fist Asneniied

Complaint, “intentions! Eniliction of Hmotiona! SMstrce* as to ell Plaintiffs (Kell
Potecs, Hill Peters, and theie daughter Jens Toe}:

b, Defendants stipulate to ltohility as to the Third Canes of Aation in the Fins Asnended
Compleint, “False Iopriscument,” as to Plaintiff Kelli Peters.

Co ew A th fF ww Ne

A. jury of twelve perons {plus two sltenstes) was tegeleehy impanclad snd swom,
Witnesses were swore ond testified, After hearing tte evidence and atguments of the parties, the
was duly instructed by the Court and the case was sulmitted to the jury. The jury deliberted
anal thareafier rehomed inty court with its verdict ax follows:

BNHBBRBRBEBRSBSSE REN SH

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JUDGMENT ON JURY VERDICT

Case 8:16-ap-01114-ES Doc1i7_ Filed 10/04/16 Entered 10/04/16 17:18:39 Desc
Main Document Page 10 of 13

We the Jury answer the questions sabmitted to us as follows:

L. What are Kelli Peters’ damages for False Imprisonment?
$365,000

1
2
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5 '
6 |[2. What are Kelli Petecs’ damages for Intertionsl Infliction af Fraotional Distress?
7 200,000 .
a
5 15. What ave Bill Peters* damages {ict Intentional Infliction of Emotional Distress?
$265,000

ls, What are Siydais Potens” denaages foe intentional infliction of Hmctionsal Distress?
3500,000

5. Did Kent W. Bastor eagage in the conduct with malice, oppression, or ftaut?
x Yea No

[if your anewer to question 5 is yes, thon answer question 6. you answered no,
jmove to question 7.]

6, What amount of punitive damages, if any, do you award Plaintifth jointly againat Kent W.
Raster?

$1.5 milion

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Case 8:16-ap-01114-ES Doc1i7_ Filed 10/04/16 Entered 10/04/16 17:18:39 Desc
Main Document Page 11 of 13

Pe

7, Did Jill B, Eeator (kn Ave Easter, ake Ava Bjork, eke Ava Everiieatt) engage in the
conduct with malice, oppression, or rau?

—mk, Yes ww, No
[if your answer to question 7 is yes, then answer question 8. If you anawered no, stop
here, answer xo forther questions, and have the presiding jator sign and dete this form}
8, What amount of punitive damages, ifexy, do you ward Plaintiffl jointly against Hl B.
(eka Ava Baxter, ake Ava Bjork, aie Ava Everhart)?

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tal CO Jameson
Presiding Juror
25-16

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all verdict forms kava been signed, notify the [cleridballfficeurt atiasdant] thet you are
15 te present your verdict in the courtroom:

NOW, THEREFORE, IT 13 ORDERED, ADJUDGED AND DECREED thet Pisintiits aizall
and recever finen defaadante as follows:

Plaintiff Kelli Peter shall have and recover ageinet Kent W, Raster end Till B. Easter (aka
Ava Easter, sks Ava Bjotk, skx Ava Bvethied), jointly and seversily, the com of
$200,000.00.

Pieitiff Sydnie Peters Gidantified in this case ex “JANE DOE"), shull have and seoover
Kent W. Hine en JB Rie Ava te, Ao Hc, Ave Hvchect
and severally, the sum of $600,000.00.
vr Pehm, ttre and reaver ua ent W. Fir wn B, Bote (oka
Ave Hester, oka Ava Bjork, ska Ava Eveheart}, jointly and severally, the sum of
1$365,000.00,

RNERERBBAS

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JUDGMENT ON JURY VERDICT

Case 8:16-ap-01114-ES Doc1i7_ Filed 10/04/16 Entered 10/04/16 17:18:39 Desc
Main Document Page 12 of 13

Plnintifth Kelli Peter, Sycdnie Peters (identified tn this csse a9 JANE DOE) and Bill Peters
fone ang Deve dracon epi Kent WY er am of $1,800,000.00 in puniiives
damages,

Piaintiif Kelli Peters, Sydnie Peters (identified it this case as JANE DOX) and Bill Petors
Jaintly have and recover against HIB. Hester (eke Ava Raster, aka Ava Blork, ska Ava

the total eam af $2,100,000.00 in punitive damages.

Pleintifils dail have ond socover interest on ail of the shove sums st the mie of ten peroont

11(1094) peor ensue ftom the date ofthe entry of this judgment until patd,

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Case 8:16-ap-01114-ES Doc1i7_ Filed 10/04/16 Entered 10/04/16 17:18:39 Desc
Main Document Page 13 of 13

PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
26000 Towne Centre Drive, Suite 230, Foothill Ranch, California 92610

A true and correct copy of the foregoing document entitled (specify): PLAINTIFF’S REQUEST FOR JUDICIAL NOTICE
IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT will be served or was served (a) on the judge in chambers in
the form and manner required by LBR 5005-2(d); and (b} in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (dafe)
40/04/16, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

L] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On (date) 10/4/16, | served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be compieted no later than 24 hours after the document is filed.

Debtor: Kent Wycliffe Easter, 153 Baywood Dr., Newport Beach, CA 92660

Trustee: Weneta M.A. Kosmala, P.O. Box 16279, Irvine, CA 92623,

Judge: Hon. Erithe A. Smith, U.S. Bankruptcy Court Central District, 411 W. Fourth St., Suite 5040 / Ctrm 5A
Santa Ana, CA 92701-4593

L] Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to t to F.R.Civ.P. 5 5 and/or controlling LBR, on 10/04/46 | served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

[] Service informe

i if of

10/4/2016 Nicole Lipowski Is Ne _Lipawekt
Date Printed Name [pratte af “v —

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012 F 9013-3.1.PROOF.SERVICE
